Case 8:21-cv-01367-JVS-KES Document 64 Filed 11/23/22 Page 1 of 5 Page ID #:2530




                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                       NOV 23 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

  AARON KHERIATY, M.D.,                           No.    22-55001

                  Plaintiff-Appellant,            D.C. No.
                                                  8:21-cv-01367-JVS-KES
   v.

  REGENTS OF THE UNIVERSITY OF               MEMORANDUM*
  CALIFORNIA, a corporation; MICHAEL V.
  DRAKE, M.D., in his official capacity as
  President of the University of California,

                  Defendants-Appellees.

                     Appeal from the United States District Court
                        for the Central District of California
                      James V. Selna, District Judge, Presiding

                            Submitted November 9, 2022**
                                Pasadena, California

  Before: MURGUIA, Chief Judge, and PARKER*** and LEE, Circuit Judges.




        *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.
        **
               The panel unanimously concludes this case is suitable for decision
  without oral argument. See Fed. R. App. P. 34(a)(2).
        ***
               The Honorable Barrington D. Parker, Jr., United States Circuit Judge
  for the U.S. Court of Appeals for the Second Circuit, sitting by designation.
Case 8:21-cv-01367-JVS-KES Document 64 Filed 11/23/22 Page 2 of 5 Page ID #:2531




        Dr. Aaron Kheriaty, a professor at the University of California, Irvine School

  of Medicine, lost his job because he refused to be vaccinated under the University

  of California’s COVID-19 vaccination policy. That policy required him to receive

  a COVID-19 vaccine before he could access the school’s facilities. Kheriaty

  challenges the constitutionality of the COVID-19 vaccination policy, claiming it

  violates his rights under the Fourteenth Amendment’s equal protection and due

  process clauses. The district court dismissed the lawsuit. We review de novo the

  district court’s grant of judgment on the pleadings. See Herrera v. Zumiez, Inc., 953

  F.3d 1063, 1068 (9th Cir. 2020). We affirm.

        1. To start, we hold that the district court—in deciding the motion for

  judgment on the pleadings—appropriately considered the school’s vaccination

  policy and the government websites cited in that policy. Extrinsic evidence will not

  convert a motion on the pleadings to a summary judgment motion if (1) the evidence

  is submitted as part of the complaint, (2) the plaintiff necessarily relies on the

  evidence, or (3) the court can take proper judicial notice of the evidence. Lee v. City

  of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001). Here, the district court

  properly took judicial notice of the school’s policy and the government websites;

  they are matters of public record made available by the government. See Daniels-

  Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).            Additionally,

  Kheriaty’s complaint necessarily relied on the existence of UC’s vaccine policy—



                                            2
Case 8:21-cv-01367-JVS-KES Document 64 Filed 11/23/22 Page 3 of 5 Page ID #:2532




  without the policy there would be nothing to challenge. United States v. Corinthian

  Colls., 655 F.3d 984, 999 (9th Cir. 2011).

        2. Contrary to Kheriaty’s claim, rational basis review—not strict scrutiny—

  applies here. A court will apply strict scrutiny when the challenged government

  action infringes on a fundamental right. Reno v. Flores, 507 U.S. 292, 301-02

  (1993). A fundamental right must be either enumerated in the Bill of Rights or

  “deeply rooted in this Nation’s history and tradition . . . and implicit in the concept

  of ordered liberty, such that neither liberty nor justice would exist if they were

  sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 720-21 (1997) (cleaned up).

  When determining whether an unenumerated right is fundamental, a court defines

  the liberty interest at issue “in a most circumscribed manner” and examines whether

  there is a specific historical practice of protecting the defined interest. Khachatryan

  v. Blinken, 4 F.4th 841, 856 (9th Cir. 2021) (quoting Obergefell v. Hodges, 576 U.S.

  644, 671 (2015)).

        Kheriaty fails to offer any appropriate historical example to establish a

  “fundamental right” to be free from a vaccine mandate at a workplace. To the

  contrary, the Supreme Court upheld a much more onerous vaccine requirement in

  Jacobson v. Massachusetts, 197 U.S. 11, 12-13 (1905) (upholding Massachusetts’s

  vaccine mandate that applied to all adults and enforced with financial penalties and

  criminal charges). Because he has not asserted a fundamental right, rational basis



                                            3
Case 8:21-cv-01367-JVS-KES Document 64 Filed 11/23/22 Page 4 of 5 Page ID #:2533




  review should apply. See Munoz v. Sullivan, 930 F.2d 1400, 1404 (9th Cir. 1991).

           3. Under a rational basis review, Kheriaty’s challenge fails.           “To

  determine whether [the school’s policy] can survive rational basis review, we apply

  a two-tiered inquiry. First, we must determine whether the challenged law has a

  legitimate purpose. . . . Second, we address whether the challenged law promotes

  that purpose.” Erotic Serv. Provider Legal Educ. & Rsch. Project v. Gascon, 880

  F.3d 450, 457 (9th Cir.), amended, 881 F.3d 792 (9th Cir. 2018). This inquiry is the

  same for both substantive due process and equal protection claims. Munoz, 930 F.2d

  at 1404. Kheriaty challenges only the second part of the inquiry.

           He maintains that his scientific studies show that previous COVID-19

  infections confer natural immunity and that the school’s vaccine policy thus does

  not advance the health and safety of the university’s community. Assuming the

  validity of his studies’ conclusions, as we must, Kheriaty may have a valid policy

  point in criticizing the school’s COVID-19 policy. But under a rational basis review,

  it is not enough for a party to merely cite scientific studies challenging the

  government’s classification policy. If “there was evidence before the legislature

  reasonably supporting the classification, litigants may not procure invalidation of

  the legislation merely by tendering evidence in court that the legislature was

  mistaken.” See Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456, 464 (1981).

  Here, the school cited its own studies that support its vaccination policy—and that



                                           4
Case 8:21-cv-01367-JVS-KES Document 64 Filed 11/23/22 Page 5 of 5 Page ID #:2534




  is enough for the policy to survive rational basis review.

     AFFIRMED.




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